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AGREEI\[ENT AND GENERAL RELEASE §“Agreement”!

This Agreen'ient and General Release is made by and between Grunley
Constrection Conrpany, Inc., and C.R. Calderon,.Inc.,(collectively “Defendants”) and Luis
Alexander Vasquez, aka 'Wilber Alexande_r, his heirs, executors, administrators
successors, and assigns (collectively referred to throughout-this A_greement as “Plaintifi”),
each intending to be legally bound. Defendants and Plaintiff shall be referred to herein as
_ the “Paities.” The Parties agree that:

WHEREAS, on behalf of himself and all similarly situated individuals, Luis
Alexander Vasquez, aka Wilber Alexander, filed a lawsuit against Defendants, captioned
ease number l:]S-ev-02106-GMH, pending in the United States District C_ourt for the
Distl“ict of Columbia (tlie “Lawsuit”);

WHEREAS, other persons joined as plaintiffs in the Lawsuit, including Noivvin
Herberto Soza, Keiny O. Sej as, and Rodolfo Gntien'ez (the “Other Plaintit`f`s”);

WHEREAS, subsequent to joining the case as parties, the Other Plaintiffs received
payments and executed separate documents releasing Defendants;

WHEREAS, Plaintiff voluntarily has agreed to execute a complete release of
claims as stated herein; and

WHEREAS, the Partics Wish to avoid incurring additional costs in the Lawsuit
and to settle and resolve all_controversies between Plaintiti` and Defendants amicably
and expeditiously;

NOW THEREFORE, in consideration of the mutual covenants set forth herein
and other good and valuable consideration, the receipt and sufficiency of which is
hereby acknowledged, it is hereby

STIPULATED AND AGREED by and between the undersigned Paijt_ies as
follower

l. Consideration. ln consideration for signing this
Agreernent, and complying With its tenns, Defendants agree to pay a total of thirty-four
thousand dollars ($34,000) by check payable to “Aslicraft & Gerel LLP, in trust for Luis
Alexander Vasquez,” within five (5) business days after the Conit’s approval of the
settlement and dismissal of the lawsuit pursuant to Paragraph 6 of this Agreenient.

2, No Consideration Absent Execution'of this Aal'eement. Plaintiff
understands and agrees that Plaintiff" Would not receive the monies and/or benefits
specified in paragraph “l” above, except for Plaintiff"s execution of this Agree_rnent and
the §iltiilment of the promises contained herein.

 

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3. Dismissal With Preiudice. Plaintiff agrees pursuant to the terms in
Paragraph 6 to disniiss, with prejudice, any and all claims in the Lawsuit by Plaintiff and
similarly situated individuals (ineluding the Other Plaintiffs) against l)efendants Grunley
Construction Cornpany, Inc. (“Grunley”) and CR Calderon, Inc. (“Caideron").

4. l General Release Ui Relgted Pr'ovisions.

a. General Reiease of All Claims. Plaintiff knowingly and
voluntarily releases and forever discharges Defendants, its parent corporation, affiliates,
subsidiaries, divisions, predecessors, insurers, successors and assigns, and their current
and former employees, attorneys, officers, directors and agents ther'eof, both individually
and in their business capacities, and their employee benefit plans and programs and their
administrators and iiduciaries (collectively referred to throughout the remainder cf this
Agreernent as 1‘l.{eleasees"), of and from any and all clairns, known and unlmown, asserted
or unasserted, which the Plaintir`f has or may have against Releasees as of the date of
execution of this Agreer`nent, including, but not limited to, any alleged violation of:

l Title Vll of the Civii Rights Act of 1964;
* Sections 1981 through 1988 ofTitie 42 of the United States Code;

= The Ernployee Retirernent lucerne Security Act of 1974 {"ERISA")
(as modified below};

" The lmmigration Refonn and Control Aet;

' 'l` he Arner'icans with _Disabilities Act of 1990;

* r£`he Worker‘ Adjustrnent and Retraining Notitication Aet;

" The Fair Credit Reporting Act;

' The Farnily and Medical Leave.Act;

" The Equal Pay Act;

* l'I`he Genetic hrformation Nondiscriinination Act of 2008;

l District of Colurnbia Human Rights Act;

" District of Colurnbia Statutory Provision Regarding
RetaliationfDiscrirnination for Filing a Workers Cornpensation
Clairn;

l Distric't of Colurnbia Farnily and Medical Leave Act;

- District of Colunrbia Wage Payrnent and Collection Law;

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' District of Colnmbia l\/iininium Wage Act;_
" D_istrict of Colnmbia Srnokers’ Rights Law;
- District cf Colnmbia Parental Leave Act;

" District of Columbia Rights of the Blind and Ph'ysically Disabled
("White Cane Act");

"' D.C. Pregnancy Anti-Discrhnination Act;

* D.C. Accrued Siclc and Safe Leave Act;

' D.C. U`nem`ployed Anti-Di_scrimination Act',

l D.C. Protecting Pregnant Wor‘kers Fairness Act;

' D.C, Fair Crirninal Recor'd Screening Arnendment Act (“Ban the
Box”);

=' D.C. Wage Thet`t Prevention Act;_

" D.C. Wage Transparency Act;

' The Worlcplace Eraud Amendnrent Ac_t of 2012

' any other federal, state or local law, rule, regulation, or ordinance
" any public-policy, contract, tort, or common law; or

' any basis for recovering costs, fees, cr other expenses including
attorneys' fees incurred in these matters

b. Colleetive/Class Action Waiver. lf any claim is not
subject to release, to the extent permitted by law, Plaintii`f waives any right or ability to be
a class or collective action representative or to otherwise participate in any putative or
certified class, collective or multi-party action or proceeding based on such a claim in
which Defendants or any other Releasee identified in this Agreenrent is a party.

5. Ackncwlcdgments and Affirrnations.
Plaintift` affirms that Plaintiff has not tiled, caused to be filed, or presently

is a party to any claim against Det`endants, except ease number l:l§-cv-OZiOG-GMH,
pending in the United States District Court for the District of Columbia. The Parties agree

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to take all steps necessary to dismiss this action within ten (10) business days after the
Consideration in paragraph l of this Agreement is paid.

.Plalutiff affirms that Plaintiff has been granted any leave to which Plaintiff
was entitled under the Farniiy and Medical Leave Act or related state or local leave or
disability accommodation laws.

Plaintiff further affirms that Plaintiff` has no known workplace injuries or
occupational diseases

Plalntiff` also affirms that Plaintiff has not divulged any proprietary or
confidential information of Defendants and will continue to maintain the confidentiality of
such information consistent with Dcfendants’ policies and/or common law.

Plaintiff` further affirms that Plaintiff has not been retaliated against for
reporting any allegations of wrongdoing by Defendants or their officers, including any
allegations of corporate fraud `

6. Disrnissal Of Pcnding Lawsuit. As part of the releases and
waivers provided for in this Agreeruent, Plaintiff agrees that within five [5) business days
of a fully-executed copy of this agreernent, he will cooperate fully with Defendants and
take all necessary actions to secure approval of this Agreernent from the Court and seek
the dismissal with prejudice of any and all claims in the Lawsuit by Plaintiff and similarly
situated individuals, including the Other Plaintiffs. The claims of Grunley and Calderon
- against each other in the Lawsuit will be dismissed without prejudice Plaintiff y
understands and agrees that Def`endants will not release to Plaintif`f any checks_specified in
Paragraph l of this Agreement until the Par“ties have secured the court’s approval of this
Settlernent Agreeinent and'the Disrnissal. If the Lawsuit is not dismissed in accordance
with the terms of this paragraph, it is acknowledged by all Parties to render this
Agreernent null and void. lf this Agr‘eernent is rendered null and void, Plaintif`f` will be
ineligible to receive any portion of the payment provided for under this Agreement
pursuant to Paragraph l and all releases set forth herein will be of no force and effect

7. Confidentialitv and Return of Propel'tv. Plaintiff agrees not to
disclose any information regarding the substance of this Agr'eernent, except to Plaintiff’s
spouse, tax advisor, an attorney with whom Plaintiff` chooses to consult regarding
Plaintiff’ s consideration of this Agreernent and/or as required by any federal, state or local
government agency

_ Plaintiff affirms that Plaintiff has returned all of Def`endants’ property,
documents, and/or any confidential information in Plaintiff’s possession or control
Plaintiff also affirms that Plaintiff ls in possession of all of P.laintiff"s property that
Plaintiff` had at Def`endants’ premises and that Def`endant is not in possession of any of
Plaintift" s property

8. Governing Law and Interpretation. This Agreement shall be
governed and conformed in accordance with the laws of the Dist_rict of Columbia without

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regard to its conflict of laws provision fn the event of a breach of any provision of this
Agreement, any party may institute an action specifically to enforce any term or terms of
this Agreement and/or to seek any damages for breach Shonld any provision of this
_ Agreernent be declared illegal or unenforceable by any court of competent jurisdiction and
cannot be modified to be enforceable excluding the general release language, such
provision shall immediately become null and void, leaving the remainder of this
Agreernent m full force and effect

a. Arbitration. in the event either party breaches this
Agreement and/or either party brings a legal action to enforce or interpret this _Agreern_ent,
any resulting legal action or complaint shall be referred for binding arbitration conducted
by an arbitrator from either JAMS or The McCarnmon Group_ that has been mutually-
agreed upon by the Parties. Any arbitration hearing will take place in the District of
Colurnbia, or at such location as agreed upon by the Parties. The arbitration shall be
administered and conducted according to the standard arbitration rules governing at the
time one of the Parties initiates a clairn, unless a rule might conflict with this Agreement.
The fees for the arbitration services shall be divided equally unless otherwise agreed`, ”l`he
Parties agree to complete any and all papers and agreements to arbitrate that are required
to initiate arbitration, but the Parties agree that in the event of a conflict between the
Terms of this Agreeinent and any agreement to arbitrate nright'requir'e the Parties to
execute, the terms of` this Agreement shall control. Plaintii`f shall not, without written
consent of Defendants have the right to: {l) initiate or file any class action in court or in
arbitration, either as a class representative or a class member, including “collective” action
type claims arising under the hair Labor Standards Act, 29 U.S.C. § 201 et seq. or (2) join
or consolidate claims With any other claim asserted by any other person

9. Nonadmission of Wl'ongdoing. The Parties agree that neither this
Agreement nor the hnnishing of the consideration for this Agreement shall be deemed or
construed at any time for any purpose as an admission by Releasces of wrongdoing or
evidence of any liability or unlawful conduct of any l<ind.

lO. Amendment. This Agreernent may not be modified, altered or
changed except in writing and signed by both Parties wherein specific reference is made to
this Agr`eernent.

ll. Entire Agreerncnt. This Agreement sets forth the entire agreement
between the Parties hereto relating to the resolution of Plaintifl"s claims in the Lawsuit,
and fully supersedes any prior agreements or understandings between Plaintiff and
Dcfendants. Plaintiff acknowledges that Plaintiff has not relied on any representations,
pr'ornises, or agreements of any kind made to Plaintiff` in connection with Plaintiff"s
decision to accept this Agreement, except for those set forth in this Agreement.

PLAINTIFF rs AnvrsED THAT PLAINTIFF HAs A
REASONABLE AMouNr or rnviE, No'r To EXCEED 15 DAYS, ro
coNleER Tnis AGREEMENT,

PLAIN'I`IFF FREELY AND KNOWINGLY, AND AFTER DUE

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CONSIDERATION, ENTERS INTO THIS AGREENIENT INTENDING TO
WAIVE, SETTLE AND RELEASE ALL CLAIMS PLAINTIFF HAS OR MIGHT
HAVE AGAINST RELEASEES.

The Parties knowineg and voluntarily sign this Agreement as of the date(s)
set forth below: `

 

 

C.R. Caideron, lnc. Grunley Construction Company, Inc;
By: By:
Date: Date:

 

 

 

Lui; AlexanderCVasquez, aka Wiiber Aiexander Date: 7" ? q {é

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CONSIDERATION, EN’E`ERS IN'[`O 'Z`HIS AGREEMENT IN'I`ENDING 1`{)
W‘AIVE, SE’!`TLLE ANI) RI£`.L§§LAS!€ ALI, CLAIMS PL-AINT§I¢`F HAS ()R MECHT
` I'IAVI‘.`. AGAINS'!` RELEASEES.

"i`he Parties knowinng and voiunta§'i¥y sign this Agr¢:<:mcm as ofthe datc{s)
561 E`OLU: bC{c)wl

C.R, Ca]deron, inc, (ermley Construclio:: Company_, inc.

 

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CONSIDERATION, `EN'I`.ERS INTG THIS AGREEMENT INTEN})ING 'I`O
WA'IVE, SETTLE AN]) RELEASE ALL lCI_,AIIV‘.{S PLAIN'I`IFF HAS ()R MIGHT
HAVE AGAINST RELEASEES.

The 'Parties knowingly and voluntarin sign this Agreement as of the date(S)
set'forth beiow:

C.R. Caideron, Inc. G_runley Cons_truction C_ompany_, inc.

¢-

By: By:

 

"’E._.As».-» /»,,A¢, ¢>JU !/.¢F-'o

Date: Date: q/g//é
/ f

Luis Alexander Vas_quez, aka Wiiber Aiexandel' Date:

 

 

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